              Appendix A




Case 1:23-md-03062-TDS-JEP Document 95-1 Filed 03/11/24 Page 1 of 4
                                          APPENDIX A

                   Grounds for Dismissing Plaintiffs’ State Antitrust Claims

   State      No Proximate        No Art. III or      Insufficient Intrastate    Indirect Purchaser
                 Cause         Statutory Standing       Conduct or Effect               Bar

Arizona            X                     X

                                         X
California         X              (as to Corteva)

Connecticut        X                     X

DC                 X                     X

Illinois           X

Iowa               X                     X

Kansas             X                     X

Maine              X                     X

Maryland           X                     X

Michigan           X                     X

Minnesota          X                     X




                Case 1:23-md-03062-TDS-JEP Document 95-1 Filed 03/11/24 Page 2 of 4
                   Grounds for Dismissing Plaintiffs’ State Antitrust Claims

  State       No Proximate        No Art. III or      Insufficient Intrastate    Indirect Purchaser
                 Cause         Statutory Standing       Conduct or Effect               Bar

Mississippi        X

Montana            X                     X                                               X

Nebraska           X                     X

Nevada             X                     X

New
Hampshire          X                     X

New
Mexico             X                     X

New York           X                     X                        X

North
Carolina           X                     X

North
Dakota             X                     X

Oregon             X                     X




                                                2


                Case 1:23-md-03062-TDS-JEP Document 95-1 Filed 03/11/24 Page 3 of 4
                   Grounds for Dismissing Plaintiffs’ State Antitrust Claims

  State       No Proximate        No Art. III or      Insufficient Intrastate    Indirect Purchaser
                 Cause         Statutory Standing       Conduct or Effect               Bar

Puerto Rico        X                     X                                               X

Rhode
Island             X                     X

South
Dakota             X                     X

Tennessee          X

Utah               X                     X

Vermont            X                     X

West
Virginia           X                     X

                                         X
Wisconsin          X              (as to Corteva)




                                                3


                Case 1:23-md-03062-TDS-JEP Document 95-1 Filed 03/11/24 Page 4 of 4
